Case 4:16-cr-00132-A Document 460 Filed 07/29/16 Page 1 of 1 Page|D 1126

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UNITED STATES DISTRICT CGURT

Northern

UN|TED STATES OF Al\/|ER|CA

V.
HOLLY LEAN NE FRANTZEN

DISTRICT OF

Texas

 

EXHIBIT AND WITNESS LIST

Case Number: 4:16-CR-132-A(22)

 

PRESIDING JUDGE
John l\/IcBryde

PLAlNTIFF’S ATTORNEY
Jay Weimer for Shawn Smith

DEFENDANT’S ATTORNEY
Me|inda Lehmann

 

 

 

TRlAL DATE (s) COURT REPORTER cOURTROOM DEPUTY
Rearraignment Hearing 07/29/2016 Debbie Saenz Fleather Arno|d
PLF. DEF. DA'I`E
NO. NO. OFFERED MARKED ADMITTED DESCRIPTION OF EXHIBITS* AND WITNESSES

 

22 7/29/2016 Yes Yes

Govt E)<h. 1 Admitted.

 

 

 

 

 

 

 

 

 

 

 

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* lnclude a notation as to the locaiion of any exhibit not held with the case file or not available because ofsize.

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